Case 3:16-md-02741-VC Document 11160-3 Filed 07/06/20 Page 1of 8

EXHIBIT
B
Case 3:16-md-02741-VC Document 11160-3 Filed 07/06/20 Page 2 of 8

Last Will and Cestament
Auhrey &. Aden

1, AUBREY R. ADEN, a resident of Pearl River County, State of Mississippi, being
over the age of eighteen (18) years, and of sound and disposing mind and memory, do
make and declare this to be my Last Will and Testament, and I revoke all my prior Wills
and Codicils.

FIRST: Declaration Concerning Family. | declare that I am the spouse of
Elaine T. Aden, and I am the father of Michael James Aden and David Ross Aden.

SECOND: Nomination and Appointment of Executor. | hereby
nominate and appoint ELAINE T. ADEN to serve as my executor hereunder, and if that
person shall be not willing and/or able, then MICHAEL J. ADEN and DAVID R. ADEN
shall serve jointly as Co-Executors. In the event either of them is unable or unwilling to
serve for any reason, then the remaining one may serve alone with full authority. These
persons named as Executor shall serve without bond, and I do hereby waive any
requirement for any accounting, inventory or appraisement by any Executor of my
estate. The term "Executor" as used herein shall apply regardless of gender or number.

THIRD: Last Illness and Funeral Expenses; Powers of Executor. |
direct my Executor to pay my last illness and funeral expenses. I authorize my Executor

to receive and retain any of my property; to sell, at public or private sale, encumber or

Initialed for Identification Qa _ARA

Page 1 of Six Pages
Case 3:16-md-02741-VC Document 11160-3 Filed 07/06/20 Page 3 of 8

lease any property of my estate without notice, at such prices and upon such terms as my
Executor deems best, and without the giving of any bond, subject, however, to such
confirmation as may be required by law; to hold, manage and operate such property; to
continue the operation of any business of my estate, alone or in partnership with others,
for such times and in such manner as deemed advisable, or to sell or liquidate such
business, and any such operation, sale or liquidation shall be at the risk of my estate and
without liability on my Executor for any losses resulting therefrom; to invest and reinvest
surplus moneys in such investments as my Executor deems advisable; to determine what
is principal and what is income of my estate and to allocate and charge to either
principal or income any debts, taxes and expenses of administration.

FOURTH: Disposition of All Property. It is my intention by this Will to
dispose of the entirety of my property, if any.

FIFTH: Disposition of Personal Effects. Except as provided in any written
instructions to my Executor regarding the disposition of personal effects, I give any
interest I may have in all personal automobiles, clothing, jewelry, china, silver, books,
pictures and other works of art, household furniture and furnishings and all other items
of domestic, household or personal use to the Trustee of that Trust Agreement described
in Paragraph SIXTH. The bequests made by this paragraph shall be free and clear of
estate and inheritance taxes, which I direct my Executor to charge against the residue of
my estate. Further, if I am married at the time of my death, I bequeath the sum of One
Hundred and No/100's Dollars ($100.00) to my surviving spouse.

Initialed for Identification SK zs

Page 2 of Six Pages
Case 3:16-md-02741-VC Document 11160-3 Filed 07/06/20 Page 4of 8

SIXTH: Disposition of Residue of Estate.

(1) All the rest, residue and remainder of my estate, both real and personal and
of whatever kind and wherever situated, I give, devise and bequeath to the Trustee under
that certain Trust Agreement designated as THE AUBREY R. AND ELAINE T. ADEN
REVOCABLE TRUST, dated the 5™ day of July, 2011, executed by me heretofore, of
which I am the Co-Trustor and Co-Trustee, to be combined with the other assets of the
trust and held, administered and distributed as a part of that trust, according to the
terms thereof and any amendments made to it prior to my death. It is my intent, if it be
permissible, not to create a separate trust by this Will and not to subject THE AUBREY R.
AND ELAINE T. ADEN REVOCABLE TRUST or the property added to it by this
Subparagraph (1) to the jurisdiction of the probate court.

(2) If for any reason the disposition in Subparagraph (1) is not operative or is
invalid, or if the trust referred to in Subparagraph (1) fails or has been revoked, then I
give the rest, residue and remainder of my estate to the individual or entity which would
have been Trustee of such trust had such trust been operative, valid and unrevoked at
my death, to be held, administered and distributed under the terms and conditions of
THE AUBREY R. AND ELAINE T. ADEN REVOCABLE TRUST, dated the 5" day of July,
2011, which trust is incorporated herein by reference.

(3) Anything else herein to the contrary notwithstanding, should any portion of
such trust be terminable upon my death, the disposition made in this Paragraph SIXTH
shall be made directly to the beneficiaries for whom the outright distribution from the

Initialed for Identification Wha

Page 3 of Six Pages
Case 3:16-md-02741-VC Document 11160-3 Filed 07/06/20 Page 5of 8

trust shall be made, and the remainder which will remain in such trust, if any, shall pass
into such trust under the provisions of Paragraph SIXTH (1) or (2), as the case may be.

(4) Should the Trustee of that trust described in Paragraph SIXTH (1) and (2)
elect not to pay any or all of the estate, gift or inheritance taxes from such trust, then, to
the extent they are not so paid, all taxes levied by the United States or any state, district,
territory or possession thereof upon or because of any property passing under this Will or
any Codicil hereto or by reason of any transfer or gift made by me during my lifetime or
at my death, or which may be imposed by reason of my death, or the acquisition of
property by any person upon my death by succession, inheritance, survivorship or
otherwise, shall be paid out of the residue of my estate as an expense of administration.
My Executor is authorized to accept any distributions from the Trustee of that trust
described in Paragraph SIXTH (1) or (2) for purpose of such payment.

SEVENTH: Omitted Heirs; Will Contests. Except as otherwise specified in
this Will, I have intentionally and with full knowledge omitted to provide for my heirs at
the time of my death. If any beneficiary under this Will or heir at law of mine or person
claiming through any of them shall contest or otherwise challenge the validity of this
Will or attack any of its provisions or the trust described in Paragraph SIXTH herein,
directly or indirectly, any share or interest in my estate given to such person under this
Will or the trust is hereby revoked, and such share or interest shall be distributed in the

same manner provided herein as if such person had predeceased me.

Initialed for Identification a. ym

Page 4 of Six Pages
Case 3:16-md-02741-VC Document 11160-3 Filed 07/06/20 Page 6 of 8

EIGHTH: Partial Invalidity. Should any part, clause, provision or condition
of this Will be held to be void, invalid or inoperative, then I direct that such invalidity
shall not affect any other provision hereof, which shall be effective as though such
invalid provisions had not been made.

NINTH: References to Gender. Any reference herein to the masculine shall
include the feminine, and vice versa. Any reference to the plural shall likewise include
the singular, and the obverse is also true.

IN WITNESS WHEREOF, I have signed and subscribed my name to this Last Will

and Testament on this the 5S day of July, 2011.

fhe R. ADEN

Initialed for Identification Www

Page 5 of Six Pages
Case 3:16-md-02741-VC Document 11160-3 Filed 07/06/20 Page 7 of 8

CERTIFICATE OF SUBSCRIBING WITNESSES

The foregoing instrument was signed, sealed, published and declared by AUBREY
R. ADEN, the Testator, to be his Last Will and Testament, in our presence, and we, at his
request and in his presence and in the sh of each other have hereunto subscribed

our names as witnesses, on this the S ay of July, 2011.

ai Cabbencne 2.Qrits

WITNESS: WITNESS:
RQ. euyN KLE ee Aw acts
Po. Bon > Aneher Cieole-

Thceson MS 34205 NaHiesburs Ms ae

Initialed for Identification Beas

Page 6 of Six Pages
Case 3:16-md-02741-VC Document 11160-3 Filed 07/06/20 Page 8 of 8

AFFIDAVIT OF WITNESSES TO THE
LAST WILL AND TESTAMENT OF
AUBREY R. ADEN

STATE OF MISSISSIPPI
COUNTY OF PEARL RIVER

Personally appeared before me, the undersigned authority in and for the
jurisdiction aforesaid, R.eLry KYLE ana Cather re A watts
subscribing witnesses to the Last Will and Testament of AUBREY R. ADEN, who having
been by me first duly sworn, on their oaths state:

That they are the subscribing witnesses to Will and Testament of AUBREY
R. ADEN, which was executed by him on the a y of July, 2011, and that they
subscribed their names to said Last Will and Testament in the presence of the Testator

and in the presence of each other and at the special instance and request of said AUBREY
R. ADEN.

That at the time of the execution of said Last Will and Testament by AUBREY R.
ADEN, he was over the age of eighteen (18) years, was of sound disposing mind and
memory, and competent to make a Will.

And further, Affiant saith not.

21g
ESS Lo

WITNESS

th
SWORN TO AND SUBSCRIBED BEFORE ME, this the 4_ day of July, 2011.

OF. MISS, . (NOTARY PUBLIC

fm: 10 #91340 t=
